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FoR THE WESTERN DISTRICT oF risi\n\u~:ssnl§.l pd O.Q
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WILLIAM P. FAULKNER,
Plaintiff,
VS. No. 04-2974-T/An

GEORGE JONES,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

PlaintiffWilliam P. Faulkner, Wisconsin Department ofCorrections prisoner number
244067, an inmate at the Stanley Correctional Institution in Stanley, Wisconsin, filed a pro
se complaint pursuant to 42 U.S.C. § 1983 in the United States District Court for the
Western District of Wisconsin on June 24, 2004 in connection With his previous
confinement at the Whiteville Correctional Facility (“WCF”) in Whiteville, Tennessee.
Plaintiff paid the civil filing fee. After screening the complaint pursuant to 28 U.S.C.
§ 19l SA, U.S. District Judge Barbara B. Crabb issued an order on July 26, 2004 authorizing
service on George Jones, a unit manager at the WCF, and dismissing the complaint with

respect to all other defendants

This document entered on the docket sheet |n compliance
with Flule 58 and,'or'79 (a) FFlCP on

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On October 12, 2004, Jones filed a motion seeking dismissal ofthe complaint on the
grounds of failure to exhaust administrative remedies pursuant to 42 U.S.C. § l 997e(a), lack
of personal jurisdiction, improper venue and expiration of the statute of limitationsl
Plaintiff filed his response to the motion on October 21, 2004, and defendant filed a reply
on November 17, 2004. Judge Crabb issued an order on November 22, 2004 transferring
the action to this district pursuant to 28 U.S.C. § l404(a). The Wisconsin court did not rule
on the issues regarding failure to exhaust and the statute of limitations2 The action Was
docketed in the Western Division of this district on November 28, 2004. On lanuary 7,
2005, defendant Jones filed a motion, pursuant to Fed. R. Civ. P. 12(b)(3), seeking a change
of venue to the Eastern Division, where the WCF is located. District Judge Bernice B.
Donald issued an order on June 13, 2005 transferring the case to this division.

On March 22, 2005, a motion for summary judgment was filed on behalf of both
l ones and CCA,3 again raising the issues of the statute of limitations and failure to exhaust
administrative remedies Plaintiff did not respond to this motion, although his previous

response to the motion to dismiss is relevant and will be considered Plaintiffdid, however,

 

1 A motion to dismiss was originally filed on October 4, 2004 on behalf of defendant Corrections

Corporation of America (“CCA”), even though .ludge Crabb’s July 26, 2004 order dismissed the claims against that
party. The only issue raised in that motion was plaintiffs failure to exhaust his administrative remedies A
document titled “Amended Motion and Motions to Dismiss of George Jones” was filed on October 12, 2004. ln
that motion, lones joined in CCA’s argument as to lack of exhaustion and also raised the issues of lack of personal
jurisdiction, improper venue and the statute of limitations

2 The order transferring the action rendered moot defendant Jones’s argument as to lack of personal
jurisdictionl

3 lt is unexplained why motions continued to be filed on behalf of CCA, who has not been a party to this
action since Ju|y 26, 2004.

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file a motion seeking appointment of counsel on April l l, 2005.

The motion to dismiss filed on behalf of CCA andjoined by defendant Jones was
supported by the affidavits of WCF Sergeant Victoria Burnett and of Ina Carter, the
secretary to the warden of the WCF . Plaintiff s response to the motion to dismiss included
the affidavit of Rock lngram, who was incarcerated at the WCF at some unspecified time.
The Court also has considered these materials in connection with the motion for summary
judgment

Motions for summary judgment are governed by Fed. R. Civ. P. 56. Summary
judgment is appropriate “if . . . there is no genuine issue as to any material fact and . . . the
moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). As the
Supreme Court explained:

ln our view, the plain language of Rule 5 6(0) mandates the entry of summary

judgment, after adequate time for discovery and upon motion, against a party

who fails to make a showing sufficient to establish the existence of an element

essential to that party’s case, and on which that party will bear the burden of

proof at trial. ln such a situation, there can be “no genuine issue as to any

material fact,” since a complete failure of proof concerning an essential

element of the nonmoving party’s case necessarily renders all other facts
immaterial. The moving party is “entitled to judgment as a matter of law”
because the nonmoving party has failed to make a sufficient showing on an

essential element of [his] case with respect to which [he] has the burden of
proof.

Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986) (citation omitted).

 

Under Fed. R. Civ. P. 56(e), “[w]hen a motion for summary judgment is made and

supported as provided in this rule, an adverse party may not rest upon the mere allegations

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or denials ofthe adverse party’s pleading, but the adverse party’s response, by affidavits or
as otherwise provided in this rule, must set forth specific facts showing that there is a
genuine issue for trial.” ln considering a motion for summary judgment, “the evidence as
well as the inferences drawn therefrom must be read in the light most favorable to the party '
opposing the motion.” Kochins v. Linden-Alimak. Inc., 799 F.2d 1128, 1133 (6th Cir.
`1986); see also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587-88
(1986) (same).4

A genuine issue of material fact exists “if the evidence [presented by the non-moving
party] is such that a reasonable jury could return a verdict for the non-moving party.”
Anderson v. Libertv Lobbv. lnc., 477 U.S. 242, 248 (] 986); §Q_LM § at 252 (“The mere
existence of a scintilla of evidence in support of the plaintiffs position will be insufficient;
there must be evidence on which the jury could reasonably find for the plaintiff. Thejudge’s
inquiry, therefore, unavoidably asks whether reasonable jurors could find by a
preponderance of the evidence that the plaintiff is entitled to a verdict[.]”); Matsushita, 475
U.S. at 586 (“When the moving party has carried its burden under Rule 56(c), its opponent
must do more than simply show that there is some metaphysical doubt as to the material

facts.”) (footnote omitted). The Court’s function is not to weigh the evidence, judge

 

4 Rule 56(e) sets forth in detail the evidentiary requirements applicable to a summary judgment motion:

Supporting and opposing affidavits shall be made on personal knowledge, shall set forth
such facts as would be admissible in evidence, and shall show affirmatively that the affiant is
competent to testify as to all the matters stated therein. Sworn or certified copies of all papers or
parts thereof referred to in an affidavit shall be attached thereto or served therewith. The court
may permit affidavits to be supplemented or opposed by depositions answers to interrogatories
or further affidavits

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credibility, or in any way determine the truth of the matter, however. Libeg; Lobby, 477
U.S. at 249. Rather, the inquiry is “whether the evidence presents a sufficient disagreement
to require submission to a jury or whether it is so one-sided that one party must prevail as
a matter of law.” ida at 251-52.

The complaint alleges that the plaintiff, a nonsmoker, is a diabetic with cardiac and
respiratory problems At some unspecified time an inmate who smokes was assigned to his
cell. Plaintiff allegedly complained to defendant Jones, who did not reassign the plaintiff
or his cellmate. After approximately six weeks, plaintiff was examined by the doctor at the
WCF, who allegedly stated that his lungs were filling up with fluid due to the secondhand
smoke. The doctor advised plaintiff to tell J ones it was his medical opinion that plaintiff
should not be housed with a smoker. No change was made to plaintiffs cell assignment
until he was transferred out of the WCF on some unspecified date. He seeks compensatory
and punitive damages

Jones contends that the action should be dismissed pursuant to 42 U.S .C. § 1997e(a).
The Sixth Circuit has held that § 1997e(a) requires a federal court to dismiss a complaint
without prejudice whenever a prisoner brings a prison conditions claim without
demonstrating that he has exhausted his administrative remedies Brown v. Toombs, 139
F.3d 1102 (6th Cir. 1998); E Porter v. Nussle, 534 U.S. 516, 532 (2002) (“[T]he PLRA’s
exhaustion requirement applies to all inmate suits about prison life, whether they involve

general circumstances or particular episodes and Whether they allege excessive force or

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some other wrong.”); Booth v. Churner, 532 U.S. 731 (2001) (prisoner seeking only money
damages must exhaust administrative remedies although damages are unavailable through
grievance system). This requirement places an affirmative burden on prisoners of pleading
particular facts:

a prisoner must plead his claims with specificity and show that they have been

exhausted by attaching a copy of the applicable administrative dispositions to

the complaint or, in the absence of written documentation, describe with

specificity the administrative proceeding and its outcome.
l_d. at 642; see also Bovd v. Corrections Corp. ofAm., 380 F.3d 989, 985-96 (6th Cir. 2004)
(describing the standard for demonstrating exhaustion when prison officials fail to respond
in a timely manner to a grievance), cert denied, 125 S. Ct. 1639 (2005); Baxterv. Rose, 305
F.3d 486 (6th Cir. 2002) (prisoner who fails to allege exhaustion adequately may not amend
his complaint to avoid a sua sponte dismissal); Cum_/ v. Scott, 249 F.3d 493, 503-04 (6th
Cir. 2001) (no abuse of discretion for district court to dismiss for failure to exhaust when
plaintiffs did not submit documents showing complete exhaustion of their claims or
otherwise demonstrate exhaustion). Furthermore, § 1997(e) requires the prisoner to exhaust
his administrative remedies before filing suit and, therefore, he cannot exhaust these
remedies during the pendency of the action. Freeman v. Francis, 196 F.3d 641, 645 (6th Cir.
1999). Finally, the Sixth Circuit recently held that district courts are required to dismiss a

complaint in its entirety, pursuant to 42 U.S.C. § 1997e(a), that contains any unexhausted

claims Jones Bey v. Johnson, 407 F.3d 801, 805-09 (6th Cir. 2005).

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The affidavit of Sergeant Burnett, which was sworn to on October 4, 2004, states as
follows:

1. l am an adult resident of the State of`Tennessee, and make this
affidavit on personal knowledge

2. l am employed by Corrections Corporation of America (CCA)
as the Grievance Officer at Whiteville Correctional Facility, a private
correctional facility owned and operated by CCA, and located in Whiteville,
Tennessee.

3. As the Grievance Officer, l am responsible for receiving and
logging in all inmate grievances and grievance appeals; coordinating the
investigation of grievances; preparing written decisions; providing such
decisions to the grieving inmate; ensuring that responsive action is taken,
where appropriate; and maintaining grievance records

4. During the time inmate Faulkner was incarcerated at Whiteville,
there was a formal grievance procedure in place.

5. l have reviewed the facility’s grievance logs for records
pertaining to inmate William P. Faulkner.

6. There is no record that inmate William P. Faulkner ever filed a
grievance regarding his need or desire to be placed in a cell with a non-
smoker.

7. There are records of inmate Faulkner filing grievances regarding

other issues, such as disciplinary actions, which were resolved

Although plaintiff addressed the issue of exhaustion in his October 21, 2004 response
to the motion to dismiss, the substance of his response is not clear. First, plaintiff cites to
a Tenth Circuit decision, Smith v. Corrections Corporation of Am., 92 Fed. Appx. 649 (10th
Cir. Feb. 13, 2004), which noted that the written grievance procedure CCA submitted in that

case, dated December 1, 2002, post-dated the June 5, 2002 incident at issue in that case.

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Plaintiff cites that decision to suggest that CCA posted a grievance procedure after he was
transferred out of the WCF in late January of 2002. However, there has been no showing
that the WCF did not have a grievance procedure while the plaintiff was incarcerated at that
facility. lndeed, the complaint admits that “[t]here is a grievance process at Whiteville.”
(Compl., p. l.)

Next, plaintiff states as follows:

The grievance process starts verbally. The defendant’s conceded (see

motion to dismiss) that the plaintiff repeatedly approached staff to tell them

that the doctor gave his medical opinion that the plaintiff should be moved.

At no time did any of the staff ever tell the plaintiff anything about the

complaint process that was to the contrary of what the plaintiff was already

doing. And when the defendant’s heard that the plaintiff was in the process

of filing a lawsuit they moved the plaintiff out of state therefore nullifying

1997(e) that the plaintiff must exhaust where the violations took place.

(Pl.’s Br., filed Oct. 21, 2004, at 1-2.)5 The plaintiffs informal complaints do not relieve

him of the obligation of filing a formal inmate grievance6 l\/loreover, there is no legal

 

3 This response is not sworn to under penalty of perjury and, therefore, ordinarily cannot be considered as

evidence in opposition to a motion for summaryjudgment. Plaintiff`s knowledge of these evidentiary requirements
is demonstrated by the fact that he submitted the affidavit of another prisoner in opposition to the motion to dismiss
Because the plaintiff is a prisoner, however, it may be inappropriate to dismiss the action on that basis without order
him the opportunity to submit his response in the proper form. See, e.g.q United States v. Ninetv-Three (93)
Firearms, 330 F.3d 414 (6th Cir. 2003) (suggesting that district courts are required to advise pro se prisoners of
their responsibilities in responding to summaryjudgment motions). Because plaintiffs response would be
insufficient to defeat summary judgment even if it were sworn to under penalty of perjury, the Court declines to
order the plaintiff to correct this defect in his response

6 Shephard v. Wilkinson, 27 Fed. Appx. 526, 527 (6th Cir. Dec. 5, 2001) (“While Shephard asserts that he
has raised his complaints in numerous letters to prison and public officials, a prisoner must utilize the formal
grievance process provided by the state; he cannot comply with the requirements of § 1997e(a) by informally
presenting his claims.”); Reeder v. Seabold, 22 Fed. Appx. 528, 530 (6th Cir Nov. 6, 2001) (inmate not entitled to
“bypass” grievance procedure by raising issue with deputy warden); Jacobs v. Wilkinson, 21 Fed. Appx. 273, 275-
76 (6th Cir. Aug. 8, 2001) (infomial complaint to deputy warden no substitute for inmate grievance); Hewell v.
Leroux, 20 Fed. Appx. 375, 377 (6th Cir. Sept. 21, 2001); see also Clark v. Beebe, No. 98-1430, 1999 WL 993979,
at *2 (6th Cir. Oct. 21, 1999) (district court erred in holding that prisoner had substantially complied with

 

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requirement that prison officials advise inmates of the necessity of complying with the
PLRA before commencing an action pursuant to 42 U.S.C. § 1983. Brock v. Kenton
County, Ky., 93 Fed. Appx. 793, 797-98 (6th Cir. l\/Iar. 23, 2004). The plaintiffwas aware
of the grievance procedure used at the WCF, as evidenced by the grievances he filed on
other matters, and nothing in his response indicates that some rule at the WCF prevented him
from filing a grievance prior to his transfer to another prison. E BMQ, 380 F.3d at 999
(rejecting inmate’s vague assertion that he “did not know about the existence of a legitimate
grievance procedure”). Under these circumstances the plaintiff has not satisfied his burden
of demonstrating, through particularized averments, that he exhausted his administrative
remedies

The Sixth Circuit has stated that “[a] plaintiff who fails to allege exhaustion of
administrative remedies through ‘particularized averments’ does not state a claim on which
reliefmay be granted, and his complaint must be dismissed sua sponre.” M, 305 F.3d
at 489.7 Accordingly, the complaint is subject to dismissal in its entirety pursuant to 42
U.S.C. § l997e(a).

Notwithstanding the failure to exhaust administrative remedies, the Court may

dismiss a claim on the merits if it fails to state a claim upon which relief may be granted

 

exhaustion requirement by writing a letter to the U.S. Attorney’s office that eventually made its way to the warden
of plaintiffs prison).

7 As the Sixth Circuit explained, “If the plaintiff has exhausted his administrative remedies, he may
always refile his complaint and plead exhaustion with sufficient detail to meet our heightened pleading requirement,
assuming that the relevant statute of limitations has not run.” Baxter, 305 F.3d at 489.

 

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§ § l997e(c)(2). ln this case, Jones also seeks dismissal of this action on statute of
limitations grounds A one-year statute of` limitations is applicable to § 1983 actions in
Tennessee. Tenn. Code Ann. § 28-3-104(a); s_e§ Wilson v. Garcia, 471 U.S. 261, 266-268
(1985); Bernt v. Tennessee, 796 F.2d 879 (6th Cir. 1986). Although the complaint does not
state the dates on which any of the events in question occurred, the defendant has submitted
the affidavit of lna Carter, sworn to on October 4, 2004, which states that plaintiff was
incarcerated at the WCF from June 6, 2000 until February 2, 2002. The plaintiffs complaint
was signed on May 31, 2004 and, even if it is assumed to have been filed on that date,
Houston v. Lack, 487 U.S. 266 (1988), it is plainly untimely.

ln response, the plaintiff argues that he was, at all relevant times, in the custody of
the State of Wisconsin and, therefore, Wisconsin law should apply. Plaintiff cites no
authority for this proposition. ln Hill v. Overton Countv. Tennesseer No. 98-6762, 2000 WL
145190, at *1 (6th Cir. Jan. 31, 2000), the Sixth Circuit rejected a claim that a Michigan
prison housed in Tennessee was entitled to the benefit of Michigan’s three-year limitations
period for personal injury actions Accordingly, plaintiffs complaint is time barred.

F or all the foregoing reasons, the Court GRANTS defendant Jones’s motion for
summary judgment ln light of this ruling, the motion for appointment of counsel is
DENlED as moot.

The next issue to be addressed is whether plaintiff should be allowed to appeal this

decision informer pauperis Twenty-eight U.S.C, § 1915(a)(3) provides that an appeal may

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not be taken in forma pauperis ifthe trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. Coppedge v. United States, 369 U.S.
438, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous ld”.
The same considerations that lead the Court to grant summary judgment to the defendant
also compel the conclusion that an appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 191 5(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith.

The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal ofthis case.8 ln l\/chore v. Wrigglesworth, 114 F.3d 601, 610-ll (6th Cir.
1997), the Sixth Circuit set out specific procedures for implementing the PLRA. Therefore,
the plaintiff is instructed that if he wishes to take advantage of the installment procedures
for paying the appellate filing fee, he must comply with the procedures set out in _MM
and § 1915(a)-(b).

J_e
rr rs so oRDERED this §§ day 0rJu1y,2005.

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WWA 25 ' QM
JAME D. TODD
UNlT STATES DISTRICT ]UDGE

 

8 Effective November l, 2003, the fee for docketing an appeal is $250. § Judicial Conference Schedule
ofFees, 11 1,Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917, a district court also charges a $5 fee.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-02974 was distributed by fax, mail, or direct printing on
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EssEE

 

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